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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   COURTNEY FEIN, Bar #244785
     Designated Counsel for Service
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   (916) 498-5700
 5   Attorney for Defendant
     MARIO FLORES-PINEDA
 6
 7
                                  IN THE UNITED STATES DISTRICT COURT
 8
                                FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,               )           NO. Cr.S. 12-293-JAM
11                                           )
                           Plaintiff,        )
12                                           )           STIPULATION AND ORDER CONTINUING
            v.                               )           STATUS CONFERENCE; EXCLUDING
13                                           )           TIME
     MARIO FLORES-PINEDA and                 )
14   SILVANO VARGAS-ESTRADA,                 )           Date: January 15, 2013
                                             )           Time: 9:45 a.m.
15                     Defendants.           )           Judge: Hon. John A. Mendez
     __________________________
16
            IT IS HEREBY STIPULATED by and between the parties hereto through their respective counsel,
17
     CHRIS CHANG, Special Assistant United States Attorney, attorneys for Plaintiff; and DANIEL BRACE,
18
     attorney for SILVANO VARGAS-ESTRADA, and COURTNEY FEIN, attorney for MARIO FLORES-
19
     PINEDA, that the status conference hearing date of November 27, 2012, be vacated, and the matter be set
20
     for status conference on January 15, 2013, at 9:45 a.m.
21
            The reason for this continuance is to allow both defense counsel additional time to continue
22
     settlement negotiations with the government, review any resulting plea agreements with their clients,
23
     and/or review the discovery and continue investigating the facts of the case.
24
            Based upon the foregoing, the parties agree that the time under the Speedy Trial Act should be
25
     excluded from the date of signing of this order through and including January 15, 2013 pursuant to 18
26
     U.S.C. §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and Local Code T4 based upon continuity
27
     of counsel.
28
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 1   DATED: November 15, 2012                              Respectfully submitted,
 2                                                         DANIEL J. BRODERICK
                                                           Federal Public Defender
 3
                                                           /s/ Courtney Fein
 4                                                         COURTNEY FEIN
                                                           Assistant Federal Defender
 5                                                         Designated Counsel for Service
                                                           Attorney for MARIO FLORES-PINEDA
 6
 7   DATED: November 15, 2012                              /s/ Courtney Fein for
                                                           DANIEL BRACE
 8                                                         Attorney for Defendant
                                                           SILVANO VARGAS-ESTRADA
 9
     DATED: November 15, 2012                              BENJAMIN WAGNER
10                                                         United States Attorney
11                                                         /s/ Chris Chang
                                                           CHRIS CHANG
12                                                         Special Assistant U.S. Attorney
                                                           Attorney for Plaintiff
13
                                                   ORDER
14
              UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered that the November
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     27, 2012, status conference hearings be continued to January 15, 2013 at 9:45 a.m. Based on the
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     representation of both defense counsel and good cause appearing therefrom, the Court hereby finds that the
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     failure to grant a continuance in this case would deny defense counsel reasonable time necessary for
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     effective preparation, taking into account the exercise of due diligence. The Court finds that the ends of
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     justice to be served by granting a continuance outweigh the best interests of the public and the defendants
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     in a speedy trial. It is ordered that time up to and including the January 15, 2013 status conference shall be
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     excluded from computation of time within which the trial of this matter must be commenced under the
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     Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code T-4, to allow defense
23
     counsel reasonable time to prepare.
24
     Dated:      11/15/2012
25                                                         /s/ John A. Mendez
                                                           JOHN A. MENDEZ
26                                                         United States District Court Judge
27
28                                                         2
